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      ORDERED in the Southern District of Florida on May 16, 2016.




                                                                Robert A. Mark, Judge
                                                                United States Bankruptcy Court
_____________________________________________________________________________
                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         www.flsb.uscourts.gov

  In re:                                                Case No. 16-15633-RAM
                                                        Chapter 7
  Robenson Derice



                                Debtor    /


                             ORDER CONVERTING CASE UNDER CHAPTER 7
                             TO CASE UNDER CHAPTER 13 (AFTER HEARING)

           The Court conducted a hearing on May 12, 2016 on the debtor’s motion to convert

  this case to a case under chapter 13 pursuant to 11 U.S.C. §706(a). The motion was

  served on required parties in accordance with local rule 9013-1(D)(3)(h). The debtor is

  eligible to be a debtor under chapter 13 since the case has not previously been converted

  under 11 U.S.C. § 1112, § 1208 or § 1307 and the Court otherwise finds that conversion

  is justified.

           It is ORDERED that:

           1.       This chapter 7 case is converted to a case under chapter 13.

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         2.       The chapter 7 trustee shall file, within 30 days of the date of this order:

                  a. a final accounting for all receipts and disbursements made in the chapter

                         7 case; and

                  b. a report on the administration of the case pursuant to 11 U.S.C. §704(9).

         3.       The chapter 7 trustee forthwith shall turn over to the debtor, all records and

                  property of the estate remaining in the chapter 7 trustee's custody and control.

         4.       The debtor shall provide notice to affected parties of the deadline set pursuant

                  to Local Rule 1019-1(J)(1) for filing by a nongovernmental unit a request for

                  payment of an administrative expense.

         5.       The debtor shall file, within 14 days from the date of this order and if such

                  documents have not already been filed, the statements, schedules, Official

                  Form(s) 122C-1 “Chapter 13 Statement of Your Current Monthly Income and

                  Calculation of Commitment Period”, 122C-2 “Chapter 13 Calculation of Your

                  Disposable Income”, and, if required, payment advices or the required

                  statement regarding payment advices. [see Bankruptcy Rule 1007(b),

                  Bankruptcy Rules 1007(b)(1) and 1007(c), Local Rules 1007-1(E), 1007-2,

                  1009-1(D), 1019-1(C) and 1019-1(L)]; and


         6.       The debtor shall file, within 14 days from the date of this order, a chapter 13

                  plan using the Local Form required by Local Rule 3015-1(B)(1). Amendments

                  to the plan shall be filed by the deadline set forth in Local Rule 3015-2.

         7.       If the chapter 7 filing fee was waived, the debtor shall pay the full chapter 13

                  filing fee of $                 or file a local form application to pay the fee in

                  installments within 14 days after entry of this order.

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         8.       The debtor shall commence plan payments to the chapter 13 trustee within 30

                  days from the date of this order in the manner prescribed by that trustee as

                  required by Local Rule 3070-1(A). If, at the first meeting of creditors, the debtor

                  is not current in plan payments under the plan as originally filed, the chapter

                  13 trustee may submit a proposed order dismissing the debtor’s chapter 13

                  case and the case may be dismissed without further notice of hearing.

                  Dismissal shall be with prejudice to the debtor filing any bankruptcy case for a

                  period of 180 days from entry of the order of dismissal (see Local Rule 3070-

                  1(C)(1).


         9.      The debtor shall file, no later than the date of the last payment made as

                 required by the plan or the filing of a motion for entry of a discharge under 11

                 U.S.C. § 1328(b), “Certification About a Financial Management Course”

                 (Official Form 423) [See Bankruptcy Rules 1007(b)(7)(A) and (c)] (unless the

                 course provider files a certificate of completion on the debtor’s behalf).


         10. Failure of the debtor to comply with the provisions of this order may result in

                  dismissal of this case without further hearing or notice.

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Submitted by: Ricardo Corona, Esq.

Copies to:
The clerk shall serve a copy of this order on the Debtor, Attorney for Debtor,
Chapter 7 Trustee and the Chapter 13 Trustee.




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